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                   EXHIBIT A
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                                                                                                                                 Client Nv. 133.07376

                                       EX C1.1;SI YE LAB0RM.:ORA'SERVICES AG RE
                                                                                                          EMEN'U
 This Exclusive Laboratory Services Agmcment (this
                                                         "Agreement") is entered into by and between Antech
 ('..Antech Diagnostics"), and Practice Owner listed beiow                                                         Diagnostics, Inc.,
                                                             ("Practice Owner") as of the Effective Date (as defined
 respect to each Practice listed below (the "Tracticc(s)").                                                             below) with
                                                            This Agreement shall consist of this cover page, the attached
 conditions (the "StallthInt Terms and Contlition0                                                                         terms and
                                                        and. all annexes, exhibits. schedules and attachments
 therein.                                                                                                     referred to herein and

 Parties:                                 Antech Diagnostics:          Antech Diagnostics. Inc.
                                          Address:                     17672 Cowan Ave., Irvine. CA 92614
                                          Attention:                   Contracts Department

                                          Practice Owner(s):          Dr. David Carter
                                          Address:                    13694 N. Meridian Street
                                                                      Carne'. 1\146032

                                          Telephone:                  3]7-844-6868
                                          Facsimile:                  317-844-6225
                                          E-mail:                     ca rtervei inedcenter@ginkli I .00111

                                          Mac tice(s):                Carter Veterinary Medical Center
                                          Address:                    13694 N. Meridian Street
                                                                      Cannel, IN 46032

                                                                     (attach additional pages to this cover page as necessary to include
                                                                                                                                         all
                                                                     covered Practices)

                                                                AGREEMENT
Effective Date:                           7/112014
Term:                                    Five t5) years (the -Initial Term") emnmencing on the Effective
                                                                                                              Date. or. if the Effective Date
                                         does :tot rah on the first day or the month. the first Jay or the
                                                                                                           month itucnediutely following the
                                         Effective Date. The Term or this Agreement shall automati
                                                                                                         cally renew at the end ol' the then
                                         current Tenn as set forth in the attached Standard Terms and Conditio
                                                                                                                ns.
EnyilI ty     CORM]i       141 Vitt:     As an incentive tbr Practice Owner to enter into rids Agreeme
                                                                                                         nt tOr the Initial 'rerm, subject to the
                                         terms alai conditions of this Agreement. Antoci) 1)iagnostics
                                                                                                          wili provide to Practice Owner the
                                         incentives identified below andior in any additional annexes
                                                                                                       attached hereto(the "la cen tives"
                                         Pnwtice Owner's right to the Incentives., including col:tinned
                                                                                                         access to the incentives, is expressly
                                         conditioned an Practice Owner complying, with the
                                                                                                    Annual Minimarn ices and Excinsivity
                                         requirements set forth, below anti the other terms and conditio
                                                                                                         ns or this Agreement.
Ann teal Nlinim tun Fees:                Lt consideration of the Incentives provided pursuant to this
                                                                                                        Agreement, Practice Owner agrees to
                                         purchase, alter application or all Lliscounts and credits.
                                                                                                    veterinary diagnostic laboratory seeviees
                                        (-Laboratory Services-) from Antech Diagnostics vii an
                                                                                                         aggregate amount or no: !ess than
                                        $36.000.00 per "Contract Year' (i.e., the 12-month period beginnin
                                                                                                                  g nit the Effective Date and
                                        each anniversary of the Effective Date, or, it'the Effective Date does
                                                                                                                 not fall on the first day i)f the
                                         month. the fIrst cJny or the moral immediately ['allowin
                                                                                                       g the Effective Date) ;the "Annual
                                           art inta in Fees-).




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                                                                                                                    Clicw NO i 3807370-
                                                                                                                                     ,

  Exclusivity:                    During the Tenn, Practice Owner agrees to cause all Laboratory Services that are to be performed
                                  ror or on beitair of the Practices(s). to be performed by a veterinary diattnostic laboratory owned or
                                  operated by Antech Diagnostics(an "Anted' Diagnostics Lain. Notwithstanding the foregoing:
                                  ti)    Practicuts) otay rise non-Antecli Diagnostics veterinary diagnostic laboratories provided the
                                  fees paid to such non-Aritech Diagnostics veterinary diagnostic labonitorie.s in the it2uregate
                                  during each Contract Year are loss than 20% of all Fees paid by or on behalf of the Practice(s) for
                                  veterinary laboratory services &ring that Contract Year: (i) :he Practiees(s) Juay usc a non-
                                  Anteeh Diagnostics veterinary diagnostic laboanory to perform any services that an Antech
                                  Diagnostics Lab cannot perform, and (iii) to the eaten: so equipped, the Practice(s) may ose
                                  laboratory equipment owned and operated by Practice Owner and located im the premises of the
                                  Practice(s).
  By signing below the pa 1-(ieS agree to all the terms and conditions of this Esclusive 1..aboratory Services Agreement, the
  attached Standard Terms and Conditions and all annexes and littachinents referred to herein- Nothing herein shall apply to
  Anted] Imaging Services provided by Antech Diagnostics or its affiliates. This Agreement is not binding on Antech
  Diagnostics mud executed belo by an authorized representative or Antech Diagnostics.
 ANTECH MACNOSTICS, INC.                                           1)R. DAVID CARTER
 "An tech"                                                         "Practice Owner"
                                                                                              7

                                                                    B v:
            —
  Niattu:       JOStPH        LEETH DWI                             Name: Dr. DEvid Carter
  11de:         JICE PRESIDEOT                                     Tide:    Own:N-
  Date:         6 —1 9 —1 4                                         Dote:        .16
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  Jffit idr
                    o 5         :

                                                                                                           AGREEMENT
                                         EXCLUSIVE LABORATORY SERVICES
                                                    STANDARD            TERM      S   AND      coNi     nmoN        s
                                                                                                                         or any pricing information related to the
                                                        Services Agreement. terms of this Agreement
  I. General. The Exclusive Laboratery                                                Laborato    ry, Servlees     provided       hereunder. A breach of any or the
                                                                  including all
  between Powell Diagnostics and Practice (.1.:vricr.                                                                     %;olitain   ed in this Section will result in
                                                                    and ',hereto promIses ar agreements
  annexes. exhibits, sc.hedtiles and attachments hereto                                          the  and     continui   ng.    damage      to Anteeil Diagnostics for
                                                                              and irrepari
  and these standard terms and conditions (these "Terms                                                                            : ate  remedy       at law, and Anteeh
                                                                "Agreeineut." ,vhich there viii bc no al:qt.
  Conditions"). shall he referred to as the                                                            shall    be  entitled      to  injuncti   ve  relief  endfor a decree
                                                                    Terms sad l) agnostics
  Capitalized terms used boa not defined in these                                                                                             any    other  remedy   to which
                                                         the Aereement.                tc,r specific pextbrinanee in addition to
  Conditions. hove the same meanings given in                                          it may be entitied.
                                                                   provided by
          Laht-tratory Series. All L.nhoratory Services                                                                                           ies: Rented les.         The
                                                                    provided in S. Termination hv A ntecii Oiafrnst
   'kilted) Diagnostics pursuant to this Agreement. arc                                           ice  nt  any   one   of   the   followin    g  events   shall  constitute an
                                                                     ns set forth      ceeu:Tet
   accordance with and subject to all terms and conditio                                                                                           out "Event of Default"):
                                                                        time :he event of &rank by Practice Owner (each
   in the ANTECle Service Directory in effect at the                                         Practice   Owner       fails   to    satisfy   1.:te  Annual Minimal)) Fees
                                                                          conflict     (i)
   Laboratory Services arc performed,. in the event '32 any                                                         in  the    Agreeme     nt:  (il)   Practice Owner is in
                                                                                  y. obligation set forth
   between this Aureement ard the ANTECW Service Director                                           breach     of its obligations under this Agreement (other
                                                                                        material
   this Agreement snali control_                                                                                                                                  the payment
                                                                                        than (A)the Annual Minimum Fees obligation or(B)
          Term     The  initial  term  or this  Aerectre   nt is as set fort!'          obligati   ons  of     Section       r.ft   includin   g without limitation the
   3.
                                                                          nt shall exclusivity or confidentiality ohligatons set forth herein and fails
   the cover nage (the -Initial Tertn"). This Agicenie
                                                                               (the                                                                                      notice
   automati    cally  renew    for   an  addition  al 24             period             to cure such default within chitty (30) das-s following
                                                    of the  In &al  Tern)   or  any                                                       or (iii)   Practice   Owner   fails to
   "Renewal Term") upon the expiration                                                  thereof li'0111 Antech Diagsnostics;
                       unless   written  notice  is given  of a parry's   intent   to                            pursuant      to   this  Agrecra    ent  in  accorda nce  with
    Renewal "!'ern!,                                                                     pay any    amounts
                                                                       the end of the terms hereof and Practice Owner fails to cure such default
    terminate this Aga-eel-nein at least 12 inoarhs prior tc
                                                                            renew. within twen:y (2C) days following notice thereof' worn Antech
    the then current Term. The terms of any Annex shall not
    unless the Annex specifically states that it automatically renews.                   D iagnostics.
    4. payment        Terms.     Payment     in  Ad:  tbr  Laborato   ry  Services       Upon an Evert of Default set forth in clause                          of the previous
                                                        twenty  (20)    days   atiter
                                                                                         sentence. Antech Diagnostics as Its                      sole   remedy,     may upon
    shall bc made by Practice Owner within,
                                   aniccitt owed    by Practice   Owiier    beyond                                      d  not    more   Juin   120    days  followin g the trier
    receipt of invoice. Any                                                              written notice delivere
          date  such  amount    became   due   and  payable   shall accrue    a late of the applicable Contract Year, declare the amount of any (N)
    the
                                                                                  the
    charge at a rate of i.5% per month (IS% per year), or                                Incentives previously paid.. credited or provided to Practice
                                                                                                                                                                         credits
     maximum rara provided by law, whichever is less. Practice Owner fineiuding, without limitation the value of any
     Owner shall pay al!            collecti on   costs   incurred     by   Anteell      provided to Practice Owner).                  Jess   the    pro-rate  d  value  of  any
     Diagnostics in connection with this Agreement including, but not incentive; attributable to the Rill Contact Years prior ;o the
     limiled to. collection agency tees. reasonable attorneys' fees and C:ontraci Year in which such Event of Default occurs. and ty)
     court costs. Additionally. if Practice Owner is delinquent in unpaid amounts tbr !Abut awry Services performed. to he
     laying any. nil-want owed to Antech Diannostics, Oleo is aeldit                      immediately due and payable to Anteelt Dia;postics; provide
                                                                                                                                                                               d,
     to any ather rights and remedies availabie to Antech Diagnostics 11P,Alrfer, that if Practice Owner has failed to satisfy at least 50%
     under law. in equity. or under contract. Antech Diagnostics may or :he Annual Minimum Fee obligation for such Contract year.
     by notice to Practice ()vvner. suspend provision of the Services Antech Diagnostics inay in its sole discretion. in addition to
     until all outstanding amount, Mi.:Winn any aoplicable late payfilent of the amounts specified above. fonninate this
     charges, are pEid is situ.                                                           Agreement which termination shall he effective upon delivery of
     5. Intentlostally cimined.                                                           the  written entice set forth above.
                                                                                                                            or Default. Anteeli tiiaenosties may. in
     6. tsieing. Tile prices charged l'or Laboratory Services shall he Upon any other !.vent
                                                                                                        cic.t  other   rcrilcily    to which it may be entitled pursuant
     at:; set forth Olt Antech Diagnostics. Fee Schedule, as modified addition to
                                                                   in effect   at  the    te  this Agreeme     nt  or  at  law    or  in equity.(x)declare the amount of
      coin time to time for its customers geecral y. and
     time the Laboratory Services ere performed. Practice! Owner is any ft) Incentiv
                                                                                                                  es    prey              paid. credited or provic:ed to
                                                                           or levied      Prztaice    Owner      fincludi    ng.    without    limitar,on the vaine of any
     respo!isible riot. and shall pay. all taxes and rees imposed
                                                                                                                                   Owner).      and (2t unpaid amount.; fiat.
      by any z ftiverninental authority with respect to this Agreemeat and credits provided 10 PraCtiCe
      the Laboratory Services provided pursuain herein.                 ;miler   than     l.a              Servieu.  3    perform     ed.   to    be iminediatey due and
      taxes based on A ni.ech DinlIOStiC.S. net income.                                   payable to Antech 1)iagrosties.                                 ()•) tenninate t It it5
                                                                                          Agreement, which termination shall be effective immediately
     7                          iiiitt      Without the prior written censent open delivery of written notice to Practice Owner. Except as
      ova duly nuthoriled representative of Antech Diagnostics. except expiessiy sex forth herein. nothing herein shall be considered .in
      as required by law or Judicial process, Practice Owner shall not. election of remedies or a waiver el the right to Dunce any other
      and Pra-ctiec Owner shall cause its 4licers. :lireetors. employees, right or reinezly ro which Anrech Diagnostics :may be entitled.
      representatives and affiliates net to disclose to env third party any
              4.-
                                                                                                                                                            i);.!...bui      Vero: !?
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             Uihner.
                                                                                                                                                                          Vag,: 3 ar:4
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                  g          g g.;;; 14,0                                                                                                                       Clica t    . .31i07 t
                    r     3.64 35 -1 05


                                                                                                                          ikgreeinent. Antech Diagnostics :nay aSSIgli
                                                                                                                                                                                       its
                                                               'THESE TERMS AND parties to this
I               9. Limit buns of Liability.
                CONDITIONS SUPERSEDE ANY PRIOR AGREEM
                REPRESENTATIONS,                 INCLUD      ING    REPRES
                                                                                   ENTS OR rights and obligations
                                                                               ENTATI
                                                                                                                                     under
                                                                                           ONS Owner's prior -switten consent. Practice Owner
                                                                                                                                              this   Agreemen

                                                                                                                                                    Agreemen
                                                                                                                                                                  t

                                                                                                                                                                  t
                                                                                                                                                                      without    Practice
                                                                                                                                                                     rimy not assign ils
                                                                                                                                                                     without the prier
                                                                                                             and ebligations under this
i                MADE IN             ANY       ANTECH DI AGNOST ICS' SA LES rights                                                        Diagnosti    cs:   provided  , however, that
                                                                      YOU BY ANTECH written consent                         of  Antech
l                LITERATURE C) ADViCE GIVEN TO                                                                     Owner      may   assign    this    .Agrecintint without Anted'
                                                                                            OF     Practice
                 DIAGNOSTICS OR AN AGENT OR EMPLOYEE                                                                                                                          entity that
                                                                               w:TH YOU            Diagnostics' cricr written consent to :my Orson of
1                A NTECI I DIAGNOSTICS. IN CONN ECTION                                                             all  or  Substanti ally all of the assets of the Practice(s)
                                                                                    FULLES     T   acquires
i                EXECUTtON OF THiS AGREEMENT. Tr) THE                                                               by way of sale of stock, assets. merger or otherwise
                                                                                                                                                                                         ),
1                Px-rr:NT NI 'O'           I) liv APPI ICABLF:, I.AW, IN NO EVENT (whether                                                                shall    deliver    to  Antech
                                                                                     DIRECT, provided that any such assignee
 i               SHALL ANTECH DIAGNOSTICS RE LIABLE FOR                                                            ics :i written  assumption cf all obligations and liabilities
                                                                         CONSEQ      UENTAL        I)iaanost
                 INDIRECT. SPECIAL. INCIDENTAL OR                                                                                                           t. This At               shall
                                                                                             OR of Practice Owner under this Agree.men
                 DAMAGES. WI IETI IER. BASED ON coKraAcr, TORT.                                                                           to the  benefit    of  the  parties  hereto  and
                                                                                    ADVISED be binding upon and inure
                 ANY OTHER LEGAL. THEORY AND WHETHER                                                        respectiv     e successor  s and   permitted     assigns.
                                                                                                    their
                 Of THE POSSIBILD'Y OF SUCH DAMAGES.
    I             111. Governing Law: Venue. This Agreement is to
                                                                                  be anverned 15. Ponce; Mniettre. Anteult Diagnostics
                                                                                                                                                                shall not 'oe liable for
                                                                                                                                                                   manner arising from
                                                                                                                                               by   or   in  any
                                                                                       the State any failure to perform caused
                  by and construed in accordance with the internal laws of                                                accidents  . riots.   al.:ES  of   God.   \var. governmental
                                                                                        conflict fires,        floods.
                 of ludiana. without giving effect to any choice of law or                                                                           labor    difficulti es. any shortnge
                                                                                          or any interference or embargoes. strikes,
                  of law provision or rule. (whether or the state of Indiana                                        fuel,  power.   materials   or Supplies. transpOrttdi011 delays.
                                                                                         laws of of      labor.
                  other jurisdictions) that would cause the application of the                                                                                cs' vendors or any other
                                                                                   Elicit or t!ie delays in deliveries by An:cell Diagnosti
        l         any Jurisdictions other than the State of Indiana,                                                causes   (whether    or  no:  similar     in nature to any or these
                                                                                          to the cause          or
                  parties hereto hereby irrevocably consents and submits                                                                        Antech      Diagnosti   cs' control.
                                                                                      Courts for latteinbefore specified) beyond
                  exclusive personal jurisdiction of United States District
                  tae Southern District of Indiana (or. in the event such courts
                                                                                             lack
                                                                                                     16. Iiintire Agreement.               The Agreement. these Tetras and
                  subject matter jurisdiction, the courts of the State of Indiana Conditions, and all annexes. exhibits. schedules. and attachments
                                                                                            g. If                                                                                       and
                  situated in N‘larion County) over any stilt.. action or proceedin                  referred to herein. COlistitute the entire understanding
                                                                                              this
                  any party commences any proceedings with respect to                                tu:, rcentent of the parties hereto relaring to the subject
                                                                                                                                                                                    wallet
                                                                                            culler
                   Agreement the prevailing party in such litigation ar                              hereof and thereof and supersede any prior or contempo
                                                                                                                                                                                   raneous
                   proceeding shall he entitled to recover from the other party all statements. unders-,andings or agree: cents. Any term of any
                  costs of the proceedings, including reasonable costs. attorney purchase order or other document that Practice Owner provides to
                   fees. professional fees and other expenses incurred by such Antech Diagnostics that is any way inconsistent with or in
                                                                                                                                                                                     or the
                   prevailing party in such proceeding.                                              addition to the terms set forth herein will rot become a part
                                                                                                                                Practice   Owner       and   Antech    Diagnosti  cs  or he
                   II. 5e.yerykliky. It any provision of this Agreement is invalid or
                                                                                                      contract       between
                                                                                                                    in any way Ja A -1-tech Diagnosti        cs.
                   unenforceable under any statate. regulation. ordinance. executive binding
                   order     or  other  rule  or    law.  such   provision    will   be  deemed              .5..prviykkj.    .All provisions of this Agreement including.
                   reformed or deleted, as the case :nay he, but only to the extent without limitation $e.C;ipt. throngh 17, :hilt either expressly by
                   necessary 1.5.3 5.:Ultiply ...ii!ii SliCi; statute, 1.c:solution, oruitiance. their terms survive.: or. by their nature arc to survive or come into
                   order or rule, aria Pic remainina provisions of this Agreement will or contique in force anti effect oiler the expiration or termination
                   ti.traalit al run force and crleet,                                                of this Agreement shall remain                       iz.libet and be enrarccabh
                                                                                           part of    following        such  expiratio  n or terrninatI    on.
                    13. Waiver, No failure and iw ,ielay in exercising. on the
                   any party, any right under this Aareement will operate as a wavier
                   thereof. nor will Any ,iiigie or partial zxeteiso of any 112111
                   preclude the further exercise of any other right No course or
                   dealing or course cf peribrmance may be used re evidence a
                    waiver or limitation of Practice 0:vner's obligations under this
                    Agreement.
            I
                   ;3, Notices. All notices, requests. demands. claims anti other
            -      communientions hereunder will be in writing. Any notice,
                   request...1(.mnd. claim or other communication hereunder will be
                   deemed duly given if it is sent by registered or certified mail..
                   xturn receipt requested_ posulge prepaid. and ad&essed to the
                   intended recipient at the address set. forth next to such recipient en
                   the cover page hereto.
            1      I-t. Amendoteins am! !msitantem. -Ibis Agreement may be
                   amended only by a written agreement executed Ily an ut the
                    .\ i i
                                                                                                                                                                           Anted! Dialvinslics
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                                                                        ANNEX

                                                          PRICING AND DISCOUNTS


                                                                                                                              Dingnosties"). and
                                                            Agreement. betweca A ittcch Diagnostics, Inc. ("Antech
          I. General. The Exclusive Laboratory Services                                                     -
                                                                                                          sac veto. s)aii  be  referred to as the
                                                                      , and attachments thereto and
          Practice Owner, irchiding all annexe,, exhibits, schedu'es                          satr,e meanings   elven  in the Agreemen   t.
                                                                               shell have the
          "Agreement." Capitalized terms used but run defined in this annex
                                                                                                                           Schedule,  as  modified
                                                                   shall be as set Ibrtli on Antech Diagnostics. Fee
          ?. ?dealt!. fhe prices charged lir Laboratory Services                                     y Services   arc performe   d, subject to ary
                                                                       at tltz: time the Laborator
          from time to time for its customers generally, and in effect
          discounts or special pricing identified below.
               'rode       isco Dts.
                                                                                              Agreement, stilled to the terms and conditions of the
                    As an additional incentive for Practice Owner to enter into the
                                                                                 Practice 0   ,.vner a illy-one percent I%)trade discount ("Tracts
           Agreement. each billing period Anted) Diagnostics will provide
                                                                       helm)   for  Laborator    y Services For such billing period less any Excluded
           Discount-)off the Full :nvoie..ed Amount (as defined
                                                                                        discounts.
           Items (as defined below)and allci• application of any credits and other
                                                                                          Owner prior to the apolicanior of any credits or discounts.
                b. -Full Invoiced Amount- itleatis the amount billed to Practice
                                                                                            (the '1:xi:bided items"):(i)"Special Pricing:.           (ii)
                c. The Trade Discounts shall not be applied to :he following items                               ACC  OPLEV:"  : (vi) tests and panels
                                                     (iii)  Cardio  BNP    (iv)  urine   tuieroaibu  inin: (v)
           East Panel and other VCR Profiles:
                                                                                          ;(v !ii) fecal testing:(is) ron-Antech reference testing,(i.e..
           categorized as biopsies;(vii) tests and natiels categorized as cytologies
                                                           cs must  refer to a Jniversity   or other special) laboratoryr.(x)all diagnostic tests first
           those ditigrostie tests that Antech Diagnosti
                                                                                     all non-test charges or fees (e.g., bio-hazard processing fees,
           offered by Anted) Diagnostics tiller the Effective Date: and (xi)
           transportation lees. tithe costs. etc.).
                                                                                             billing periods in wl'ich Practice Owner's account %.vith
                d. The Trade Discount will only be applied to invoices for those
            Antech Diagnostics is in FOOL! staadillg•
                                                                                                  to the commencement of any Renewal Tenn shall
                e. The Trade Discot.nt in effect as of :he date immediately prior
            automatically renew upon contmencemeat ora Renewal Term,
                                                                                              enter into the Agreement for the initial Term. Poictice
           d.teintc As an additional incentive for Practice Owner to
                                                           y Services  identified on   the  attaelted  Special Pricing Schedule as specified(-Special
            Owner shall be charged for the Laborator
                                                                                                 time by Antech Diwiosks. The Special Pricing in
            Pricing). The Special Pricirg Schedule, may be modified from time :e
            effect as of the dine iamiediately prior         to the  commenc   ement     of   any    Aenewal Tenn shall automatically renew upon
            commencement of a Renewal Tern:.
                                                                                                                Agreement. the prices charged Practice
                 nanyat Capon PriceJnerose:i. Notwithstanding anytning to the contrary in this
                                              shall not increase  by more  than  five. percent  (5°,10 11 any  Contract Year.
            Owner for Laboratory Services




               ..‘    :...4.4%                                                                                                         .'ttubcr    Vci:k:on
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                                        SPECIAL PRICING
                                            SCI I EDULE


                                              Deser kption                          Sperjal price .
           _Unit Code
                                    Fecal Oct.P With Centrirugation                    $10.00
              .1.805                                                                   SI5.15
              .1.308                Fecal O&P with Crdia ELISA
                                        Full Written 11isiopath                        $44.00
               NIX
                                                Cytology                               S38.50
              CYTO
                                               Accuplex 4                              S13.95
              AC 100
